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CIVIL NON-JURY TRIAL OR MOTION HEARING:
MINUTE SHEET                                                                 DATE: MARCH 27, 2024
 United States District Court                        Eastern District of Virginia - Richmond Division
 CASE TITLE:                                         Case No. 3:22cv670
 SEALED PLAINTIFF 1, et al.
 v.                                                  Judge: M. HANNAH LAUCK

 PATRIOT FRONT, et al.                               Court Reporter: RUTH LEVY, OCR



MATTER COMES ON FOR: ☐ BENCH TRIAL ☒ MOTION HEARING ☐ OTHER:

APPEARANCES:          Parties by ☐ with ☒ counsel    Pro Se ☐

MOTIONS BEFORE TRIAL: Amended Motion to Dismiss (ECF 102)
______________________________________________________________________________________
TRIAL PROCEEDINGS:

WITNESSES EXCLUDED ON MOTION OF: PLAINTIFF(S) ☐                   DEFENDANT(S) ☐ Court ☐

OPENING STATEMENTS MADE ☐                    OPENING WAIVED ☐

PLAINTIFF(S) ADDUCED EVIDENCE ☐ RESTED ☐ MOTION ☐

DEFENDANT(S) ADDUCED EVIDENCE ☐                RESTED ☐ MOTION ☐ ____________________

REBUTTAL EVIDENCE ADDUCED ☐                  SUR-REBUTTAL EVIDENCE ADDUCED ☐

EVIDENCE CONCLUDED ☐                    ARGUMENTS OF COUNSEL HEARD ☒

COURT FOUND IN FAVOR OF PLAINTIFF(S) ☐              MONETARY AWARD $____________

COURT FOUND IN FAVOR OF DEFENDANT(S) ☐ _________________________________________

CLERK TO ENTER JUDGMENT ON DECISION ☐ TRIAL EXHIBITS ☐

THE COURT TAKES THE MATTER UNDER ADVISEMENT. THE COURT WILL ISSUE AN OPINION.




Counsel for Plaintiff(s):

Michael Shebelski, Arthur Ago, Gregory Laufer, Nicholas Drews, and Robert O'Loughlin
____________________________________________________________________________________________
Counsel for Defendants:

Bradley Marrs and Glen Allen




  SET: 2:00 PM         Began: 2:04 PM      ENDED: 3:30 PM       TIME IN COURT: 1 HOUR, 26 MINUTES
